          Case 2:16-cr-00309-JD Document 111 Filed 08/23/18 Page 1 of 1



                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES                                                 CRIMINAL ACTION

               v.

ANTHONY CANN                                                  NO. 16-309

                                            ORDER

       AND NOW, this 22nd day of August, 2018, following a telephone conference with the

parties, through counsel, on said date, for the purpose of rescheduling sentencing and discussing

other sentencing-related issues, by agreement of the parties, and at the joint request of the parties,

because a controlling issue in the case is currently before the United States Court of Appeals for

the Third Circuit in United States v. Harris, U.S.C.A. No. 17-1861, IT IS ORDERED that the

sentencing in this case is CONTINUED until the United States Court of Appeals for the Third

Circuit decides the Harris case and the United States Supreme Court addresses any petition for

writ of certiorari and, if granted, the United States Supreme Court rules on the issues presented in

the Harris case.

       IT IS FURTHER ORDERED that the parties, through counsel, shall jointly report to

the Court (letter to Chambers, Room 12613) with respect to the rescheduling of sentencing

within seven (7) days following final resolution of the Harris case as set forth above.

                                                      BY THE COURT:

                                                      /s/ Hon. Jan E. DuBois

                                                          DuBOIS, JAN E., J.
